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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 DISH NETWORK L.L.C.,
                                                    §
                                                    §
          Plaintiff,                                  Civil Action No. 4:17-cv-01618
                                                    §
                                                    §
     v.
                                                    §
                                                    §
 SHAHJAHAN DURRANI, d/b/a
                                                    §
 ZemTV, and ADAM LACKMAN,
                                                    §
 d/b/a www.tvaddons.ag,
                                                    §
 www.tvaddons.org,
                                                    §
 www.streamingboxes.com, and
                                                    §
 www.offshoregit.com
                                                    §
                                                    §
          Defendants.

                  Joint Stipulation Regarding Extension of Submission Date
                              for Defendants’ Motion to Dismiss
         Plaintiff DISH Network L.L.C. and Defendants Shahjahan Durrani and Adam Lackman,

by and through their counsel, agree and stipulate to an extension of time to March 1, 2018 for

Plaintiff to file a response to Defendants’ Motion to Dismiss (Dkt. 24).

         Accordingly, pursuant to the Court’s Procedures 4.C., the parties request that the Court

extend the submission date of Defendants’ Motion to Dismiss from January 26, 2018 to March 1,

2018.

Dated: January 24, 2018

                                                    Respectfully submitted,

                                                    HAGAN NOLL & BOYLE LLC

                                             By: s/ Stephen M. Ferguson
                                                 Stephen M. Ferguson (attorney-in-charge)
                                                 Texas Bar No. 24035248
                                                 Southern District of Texas Bar No. 614706
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                                                     Joseph H. Boyle (of counsel)
                                                     Texas Bar No. 24031757
                                                     Southern District of Texas Bar No. 30740

                                                     Counsel for Plaintiff DISH Network L.L.C.

AGREED:

THE RUSSEL FIRM, LLC

  s/ Erin K. Russell*
Erin K. Russell
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Counsel for Defendants

*Signed by permission


                                    Certificate of Conference

      I hereby certify that on January 22, 2018, I emailed a copy of the foregoing document to
Defendants’ counsel, Erin Russell. Ms. Russell responded approving the filing of this document.

                                                         s/ Stephen M. Ferguson
                                                        Stephen M. Ferguson

                                      Certificate of Service

        I hereby certify that on January 24, 2018, a true and correct copy of the foregoing document
was filed electronically with the Clerk of the Court, using the CM/ECF system, which sent
notification of such filing to all CM/ECF participants in this case.

                                                        s/ Stephen M. Ferguson
                                                       Stephen M. Ferguson


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